           Case 8:22-mj-00286-DUTY Document 3 Filed 04/20/22 Page 1 of 1 Page ID #:3

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                                                                                                              CLERK, U.SvDISTRiCT COUR
                                       UNITED STATES DISTRICT COURT
                                                                    for the                                           APR 2 0 2022
                                                           District of Massachusetts     Q                  CENTRAL DISTRICT Or ~q~   ~
                                                                                                            BY 5~\]C=
                   United States of America
                              v.                                      ~
                                                                      )       Case No. 22-mJ-3070-KAR
                    Jeremy David Hanson
                                                                                  6'• 22- t~~— o02~ co — ~J cJ~~(
                                                                                  ~


                           Defendant

                                                      ARREST WARRANT
 To:      Any authorized law enforcement officer

          YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(,rvme ojperson ro be arrested)   Jeremy David Hanson
 who is accused ofan offense or violation based on the following document filed with the court:

 D Indictment            O Superseding Indictment             O Information        O Superseding Information          ~ Complaint
 O Probation Violarion Petition          O Supervised Release Violation Perition           O Violarion Notice O Order ofthe Court

 This offense is briefly described as follows:
  Transmission In Interstate Commerce Of Communications Containing Threats To Injure The Person Of Mother in violation
  of Title 18, United States Code, Section 875(c)




 Date:       ~ 1                  0~                                          0
                                                                                             Issuing officer's signature


 City and state: ~~h 9 '1'~ P.~~ t               ~' 1/~'                          ~R~~~ ~pT3Et~T.~v~, CC•5. ~l•~
                                                                                              Printed name and Ntle


                                                                    Return

          This warrant was received on (dare) '
                                              1 ~ °) ~ ~ 2                                                        ~J ~2'Z-
                                                                          ,and the person was arrested on (date) ~~
 at r~ityQ~as~~~        ~~ s      1~~~~+.~-.s.      ~                                                                  ~ 7:a ro„~
 Date:       H ~~ ~ 2Z                                                            .
                                                                                            Arrestrrtg o,Q3cer's signature


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